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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,



       v.                                            Criminal Action No. 21-51 (TJK)

BRYAN BETANCUR,

               Defendant.


                                            ORDER

       On August 10, 2022, after Defendant’s plea of guilty to 18 U.S.C. § 1752(a)(1), this Court

sentenced Defendant to four months incarceration, 12 months supervised release, and $500 in res-

titution. See Minute Entry, August 10, 2022. Before the Court is Defendant’s Unopposed Motion

to Revoke Self-Surrender. ECF No. 51. In it, Defendant requests that he be permitted to begin

serving his sentence on Monday, August 15, 2022, instead of self-surrendering on some future

date as directed by the United States Probation Office. For the reasons stated in the motion, it is

hereby ORDERED that the motion is GRANTED. It is FURTHER ORDERED that Defendant

shall report to the United States Marshals Service at the Prettyman United States Courthouse, 333

Constitution Avenue, NW, Washington, D.C., on August 15, 2022 between 9:00 a.m. and 12:00

noon. Defendant shall arrive with a copy of this Order and photo identification and shall not bring

any personal property.

       SO ORDERED.

                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: August 12, 2022
